                     IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2022-NCCOA-55

                                      No. COA20-687

                                   Filed 1 February 2022

     Durham County, No. 19-CVS-1721

     ERIC MILLER, Plaintiff,

                 v.

     LG CHEM, LTD., LG CHEM AMERICA, INC., FOGGY BOTTOM VAPES LLC,
     CHAD &amp; JACLYNN DABBS d/b/a SWEET TEA’S VAPE LOUNGE, DOE
     DEFENDANTS 1-10, Defendants.


           Appeal by plaintiff from an order entered 20 April 2020 by Judge Michael J.

     O’Foghludha in Durham County Superior Court. Heard in the Court of Appeals 5

     October 2021.


           The Paynter Law Firm, PLLC, by Stuart M. Paynter, Celeste H.G. Boyd, David
           D. Larson, Jr., and Sara Willingham, for plaintiff-appellant.

           Lewis Brisbois Bisgaard &amp; Smith LLP, by Christopher J. Derrenbacher, for
           defendants-appellants LG Chem, Ltd., and LG Chem America, Inc.

           Schwaba Law Firm, by Andrew J. Schwaba, and Cohen, Milstein, Sellers &amp;
           Toll, PLLC, by Adam Langino, for amicus curiae North Carolina Advocates for
           Justice.

           No briefs filed by defendants Foggy Bottom Vapes LLC, Chad &amp; Jaclynn Dabbs
           d/b/a Sweet Tea’s Vape Lounge, and Doe Defendants 1-10.


           TYSON, Judge.


¶1         Eric Miller (“Plaintiff”) appeals the trial court’s decision granting LG Chem,
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                                           Opinion of the Court



     Ltd.’s (“LG Chem”) and LG Chem America, Inc.’s (“LG America”) (together,

     “Defendants”) motion to dismiss for lack of personal jurisdiction. We affirm.

                                      I.      Background

¶2         Defendant LG Chem is a South Korean company, which manufactures and

     markets lithium-ion batteries.    LG Chem alleges it has no meaningful contacts or

     connections to North Carolina.

¶3         Defendant LG America is a Delaware corporation, which sells and distributes

     petrochemical products and materials in the United States. Its direct sales and

     distribution to North Carolina are limited to petrochemical products.

¶4         LG Chem became aware in early 2016 that single 18650 lithium-ion cells it

     had manufactured were being used as unauthorized standalone rechargeable

     batteries in e-cigarette “vape” pens. LG Chem learned an 18650 battery had caused

     a fire inside a vape pen user’s bag.

¶5         LG Chem redesigned the 18650 battery cells to reduce their risk of fire, added

     warning labels to the batteries in September 2016. It also added a warning to its

     website cautioning against the unauthorized use of standalone 18650 cells in vape

     pens. LG Chem then took steps to limit its distributors and corporate customers from

     selling its manufactured 18650 lithium cells for standalone use in e-cigarette vape

     devices.

¶6         Plaintiff purchased a vape pen and LG Chem 18650 battery cell from
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                                       Opinion of the Court



     Defendant, Foggy Bottom Vapes, LLC, (“Foggy Bottom”) in Bahama, North Carolina

     in late 2016 or early 2017. On 23 October 2017, Plaintiff purchased a second LG

     Chem 18650 battery cell for use in his vape pen from Defendants Chad and Jaclynn

     Dabbs, d/b/a Sweet Tea’s Vape Lounge (“Sweet Tea”) in Creedmoor, North Carolina.

     One of the 18650 battery cells allegedly exploded in Plaintiff’s pocket, causing severe

     burns along his left leg on 4 March 2018.

¶7         Plaintiff filed suit in January 2019, seeking damages from both LG Defendants

     under various theories of products liability, ordinary negligence, and breach of the

     implied warranty of merchantability. The complaint asserts jurisdiction over the LG

     Defendants based upon the following allegations:

                  10. . . . At all times relevant to this Complaint, LG
                  Chem . . . designed    and    manufactured      18650-sized
                  cylindrical lithium-ion batteries and caused those batteries
                  to be distributed and sold throughout the United States,
                  including within the State of North Carolina.

                  11. . . . At all times relevant to this Complaint, LG
                  [America] did substantial and continuous business in the
                  State of North Carolina by marketing, distributing, and
                  selling or causing to be sold lithium-ion batteries in the
                  State.

                  ....

                  17. . . . [O]n information and belief, [LG Chem] engages in
                  substantial activity within this State by placing its
                  lithium-ion batteries into the stream of commerce with the
                  knowledge, understanding, and/or expectation that they
                  will be purchased by consumers in the State. According to
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                                        2022-NCCOA-55

                                       Opinion of the Court



                  LG Chem. . . . the company “built a network for production,
                  sales and R&amp;D not only within Korea but also in major
                  locations around the globe, conducting business all over the
                  world,”      with     approximately       6%     of      LG
                  Chem[’s] . . . worldwide business in 2015 taking place in
                  the United States. The U.S. District Court for the Western
                  District of North Carolina has found that LG Chem . . . “has
                  knowingly and intentionally used nationwide distribution
                  channels for its products, with the expectation that its
                  products will be sold throughout the country, including in
                  the state of North Carolina.”

                  18. . . . [O]n information and belief, [LG America] engages
                  in substantial activity with this State by causing its
                  lithium-ion batteries to be distributed and sold in the
                  State, and by placing its lithium-ion batteries into the
                  stream of commerce with the knowledge, understanding,
                  and/or expectation that they will be purchased by
                  consumers in the State. The U.S. District Court for the
                  Western District of North Carolina has found that:

                        [LG America] has a physical presence in the state of
                        NC in the form of being registered to do business
                        here, having a registered process agent here, using
                        property in this state for storage, and paying state
                        taxes at least once. Additionally, [LG America] has
                        participated in the economic markets of this state
                        through its sales to NC customers.

¶8         LG Defendants moved to dismiss Plaintiff’s complaint for lack of personal

     jurisdiction pursuant to Rule 12(b)(2) of the North Carolina Rules of Civil Procedure.

     Plaintiff pursued discovery against LG Defendants, serving both with interrogatories

     and requests for production of documents. LG Defendants gave limited responses to

     Plaintiff’s interrogatories, but only LG Chem responded to Plaintiff’s requests for
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                                            2022-NCCOA-55

                                           Opinion of the Court



       production.

¶9           Plaintiff filed and served motions to compel LG Defendants to provide more

       comprehensive responses to his interrogatories and requests for production, and

       asked the trial court to order additional jurisdictional discovery rather than allow LG

       Defendants’ pending motions to dismiss. Plaintiff then noticed his motions to compel

       and LG Defendants’ motions to dismiss for hearing on 11 March 2020.

¶ 10         The parties submitted evidence to the trial court in advance of the hearing. LG

       Defendants filed affidavits attesting their 18650 cells were “never designed,

       manufactured, distributed, advertised, or sold for use by individual consumers as

       standalone, replaceable, rechargeable batteries in electronic cigarette or vaping

       devices,” nor did they ever “authorize [any distributor, retailer, or re-seller] to sell or

       distribute any lithium-ion cells for use by individual consumers as standalone,

       replaceable, rechargeable batteries in electronic cigarette or vaping devices.”

¶ 11         Plaintiff filed affidavits tending to show LG Defendants’ contacts with North

       Carolina. The alleged contacts include: (1) the widespread availability of 18650

       batteries in vape shops across the State; (2) LG America authorized shipments of

       18650 batteries to or through North Carolina; (3) LG Chem marketing materials

       available online in the State and advertising 18650 batteries; (4) a press release from

       a North Carolina lithium hydroxide company announcing a deal to supply LG Chem

       with materials for battery applications; and (5) decisions from other courts rejecting
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                                              2022-NCCOA-55

                                             Opinion of the Court



       LG   Defendants’     personal   jurisdiction     arguments   or   compelling   additional

       jurisdictional discovery.

¶ 12         The trial court took the matter under advisement and allowed the parties to

       submit supplemental affidavits pending resolution of the parties’ motions. LG Chem

       filed a supplemental affidavit concerning its efforts to limit the unauthorized use of

       18650 batteries in vaping devices.

¶ 13         The trial court considered the arguments of counsel, the pleadings, briefs, and

       filings of the parties, including all affidavits and submissions, and entered an order

       allowing LG Defendants’ motions to dismiss on 20 April 2020.         The order contains

       ten findings of fact that LG Chem never designed, manufactured, distributed,

       advertised, or sold lithium-ion cells “for use by individual consumers as standalone,

       replaceable, rechargeable batteries in electronic cigarette or vaping devices[.]” The

       trial court granted LG Defendants’ motion to dismiss for lack of personal jurisdiction.

       Plaintiff appeals.

                                       II.      Jurisdiction

¶ 14         Appellate jurisdiction is proper pursuant to N.C. Gen. Stat. § 1-277(b) (2021).

                                             III.   Issues

¶ 15         Plaintiff argues the trial court erred in holding it lacked personal jurisdiction

       over the LG Defendants and the trial court abused its discretion in dismissing the

       case for lack of personal jurisdiction without compelling the LG Defendants to further
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                                              2022-NCCOA-55

                                          Opinion of the Court



       respond to discovery requests.

                                        IV.     Argument

                                          A. Jurisdiction

¶ 16         The Supreme Court of the United States recently addressed a similar

       jurisdictional issue. Plaintiff’s claims against a non-resident defendant “must arise

       out of or relate to the defendant’s contacts’ with the forum.” Ford Motor Co. v. Mont.

       Eighth Judicial Dist. Ct, __ U.S. __, __, 209 L. Ed. 2d 225, 234 (2021) (citations

       omitted).

¶ 17         A defendant’s conduct to establish personal jurisdiction is relevant only if it

       establishes “a connection between the forum and the specific claims at issue.” Id. at

       __, 209 L. Ed. 2d at 241 (citation and parentheses omitted). Under the “arise out of

       or relate to” standard, “some relationships will support jurisdiction without a causal

       showing,” but “[t]hat does not mean anything goes.” Ford Motor Co., __ U.S. at __,

       209 L. Ed. 2d at 236 (emphasis supplied). “In the sphere of specific jurisdiction, the

       phrase ‘relate to’ incorporates real limits, as it must to adequately protect defendants

       foreign to a forum.” Id.

¶ 18         To establish personal jurisdiction over a non-resident defendant in a product-

       liability action, the defendant’s contact with the forum State must involve the precise

       product at issue. Id. at __, 209 L. Ed. 2d at 238. The trial court correctly ruled

       Plaintiff had failed to make the required showing to establish personal jurisdiction
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                                           2022-NCCOA-55

                                          Opinion of the Court



       over these non-resident Defendants.

                B. Connection between the Forum and the Specific Claims

¶ 19         Plaintiff’s and our dissenting colleague’s argument, analysis, and conclusion

       show the “anything goes” danger Justices Kagan, Alito, and Gorsuch warned of in

       Ford: no “real limits” on unlimited liability in a foreign jurisdiction over a non-

       resident defendant with no contacts thereto. Id. at __, 209 L. Ed. 2d at 236. As is

       shown here: “The mere fact that [a defendant] was ‘connected’ to the manufacture

       and distribution of [a product] is not sufficient to support a conclusion that [the

       defendant] purposefully availed itself of North Carolina jurisdiction by injecting its

       products into the stream of commerce.” Cambridge Homes of N. C. Ltd. P’ship. v.

       Hyundai Constr., Inc., 194 N.C. App. 407, 416, 670 S.E.2d 290, 297 (2008). The trial

       court correctly found and concluded all Plaintiff has shown here was LG Chem

       manufacturing and “injecting its products into the stream of commerce.” Id.
¶ 20         The plaintiff’s claims “must arise out of or relate to the defendant’s contacts

       with the forum.” Ford Motor Co., __ U.S. at __, 209 L. Ed. 2d at 234 (citations and

       quotation marks omitted). Conduct is relevant only if it establishes “a connection

       between the forum and the specific claims at issue.” Id. at __, 209 L. Ed. 2d at 241

       (citation and parentheses omitted).     “When there is no such connection, specific

       jurisdiction is lacking regardless of the extent of a defendant’s unconnected activities

       in the State.” Bristol-Myers Squibb Co. v. Superior Ct. of California, San Francisco
                                        MILLER V. LG CHEM

                                           2022-NCCOA-55

                                          Opinion of the Court



       Cty., __ U.S. __, 198 L. Ed. 2d 395 (2017).

                 C. Deliberate, Systematic, and Extensive Market Service

¶ 21         In the absence of a causal connection between a non-resident defendant’s

       contacts with the forum State and the plaintiff’s claims, the defendant must

       “deliberately,” “systematically,” and “extensively” serve a market in the forum State

       “for the very [product] that the plaintiffs allege malfunctioned.” Id. at __, 209 L. Ed.

       2d at 237-38.

¶ 22         This Court’s recent opinion in Cohen v. Cont’l Motors, Inc., __ N.C. App. __,

       2021-NCCOA-449, 864 S.E.2d 816 (2021) is instructive and supports the trial court’s

       conclusion that insufficient jurisdictional contacts occurred in the facts before us. In

       Cohen, the plaintiffs were killed when their aircraft’s starter adapter failed, causing

       a loss of oil pressure and ultimate failure of the engine. Id. ¶ 2, __ N.C. App. at __,

       864 S.E.2d at 818. Continental Motors, Inc. was domiciled in Delaware, but had

       engaged in nearly 3,000 sales and earned nearly $4 million in revenue from North

       Carolina consumers. Id. ¶ 6, __ N.C. App. at __, 864 S.E.2d at 819. Continental

       Motors provided and maintained a paid electronic subscription account that gave

       North Carolina-based clients access to its manuals and technical support. Id. ¶ 6, __

       N.C. App. at __, 864 S.E.2d at 819. Continental Motors had worked closely with

       fourteen North Carolina online maintenance subscribers, including the company

       which installed the starter adapter into the plaintiff’s aircraft. Id. ¶ 6, __ N.C. App.
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                                             2022-NCCOA-55

                                            Opinion of the Court



       at __, 864 S.E.2d at 819. Although altered by a rebuilder, the starter adapter that

       failed and was the primary cause of the crash was a component of the defendant’s

       original production. Id. ¶ 9, __ N.C. App. at __, 864 S.E.2d at 820.

¶ 23         Unlike Continental Motors, LG Chem is not a United States-based company.

       LG Chem manufactures and sells lithium-ion batteries which are designed and sold

       solely to corporate and industrial businesses for inclusion in battery packs used for

       specified products. The trial court found, and Plaintiff does not challenge, LG Chem

       does not manufacture, market, sale, nor distribute these batteries for individual or

       consumer sales or for uses in the vape devices for which they were inserted.

¶ 24         LG Chem does not promote, distribute nor sell these batteries to consumers for

       use as singular or standalone batteries for individual uses. In discovery, LG Chem

       showed it “has not sold or distributed . . . 18650 lithium-ion cells to or intended for

       North Carolina between January 1, 2014 and March 4, 2018.” Plaintiff made no

       showing to refute these assertions.

¶ 25         LG Chem has never maintained an office in North Carolina, has never

       registered to do business here, and has no property or employees here. In short, LG

       Chem has no contacts whatsoever with or within North Carolina, other than products

       it manufactured ending up in North Carolina, solely through the actions of unrelated

       third-parties of its products for uses LG Chem never intended. Plaintiff does not

       challenge nor refute these facts.
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                                           2022-NCCOA-55

                                         Opinion of the Court



¶ 26         The other defendant affected and before this Court is LG America, a Delaware

       corporation that sells and distributes petrochemical products and materials in the

       United States. Its direct sales and distribution to North Carolina are limited solely

       to petrochemical products, no batteries or battery components, and it properly

       maintains a registered agent with the North Carolina Secretary of State for that

       business.

¶ 27         LG America has never distributed nor sold 18650 cells directly to anyone in

       the United States or within North Carolina. It has no office, property, or employees

       in North Carolina. In discovery, LG America asserted:

                           [LG America] did not manufacture, design,
                    distribute, or sell the product allegedly in question. [LG
                    America] assisted in the sale of LG 18650 battery cells to
                    B2B Networks, Inc., Cna International, Inc., and Green
                    Battery Technologies LLC in Illinois and Texas from
                    approximately January 2012 to May 2016. [LG America]
                    has never sold or distributed LG 18650 battery cells in, or
                    to anyone in, North Carolina.

                                D. N.C. Gen. Stat. § 1-75.4(1)(d)

¶ 28         Plaintiff does not refute these assertions but alleges specific personal

       jurisdiction over LG Defendants pursuant to N.C. Gen. Stat. § 1-75.4(1)(d) (2021).

       This statute grants the courts of North Carolina jurisdiction “over defendant[s] to the

       extent allowed by due process.” Dillon v. Numismatic Funding Corp., 291 N.C. 674,

       676, 231 S.E.2d 629, 631 (1977). In the end, this inquiry is a constitutional due
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                                            2022-NCCOA-55

                                          Opinion of the Court



       process test, “the question of statutory authority [under N.C. Gen. Stat. § 1-75.4(1)(d)]

       collapses into the question of whether [the defendant] has the minimum contacts with

       North Carolina necessary to meet the requirements of due process.” Sherlock v.

       Sherlock, 143 N.C. App. 300, 303, 545 S.E.2d 757, 760 (2001) (alterations in original)

       (citations and quotation marks omitted).

¶ 29          LG Chem and LG America moved to dismiss Plaintiff’s complaint for lack of

       personal jurisdiction and supported their motions with affidavits from an authorized

       representative, which contradicted the relevant jurisdictional allegations in

       Plaintiff’s complaint. The trial court granted LG Defendants’ motion to dismiss. The

       court’s decision was based upon affidavits, other supplemental materials, and

       arguments submitted by both parties.

                                  V.    Personal Jurisdiction

                                       A. Standard of Review

¶ 30         “The standard of review of an order determining personal jurisdiction is

       whether the findings of fact by the trial court are supported by competent evidence

       in the record[.]” Bell v. Mozley, 216 N.C. App. 540, 543, 716 S.E.2d 868, 871 (2011)

       (alterations original) (citations and quotation marks omitted). “We review de novo

       the issue of whether the trial court’s findings of fact support its conclusion of law that

       the court has personal jurisdiction over a defendant.” Id. (citation omitted). “When

       jurisdiction is challenged, plaintiff has the burden of proving that jurisdiction exists.”
                                           MILLER V. LG CHEM

                                             2022-NCCOA-55

                                            Opinion of the Court



       Stetser v. TAP Pharm. Prods. Inc., 162 N.C. App. 518, 520, 591 S.E.2d 572, 574 (2004)

       (citation omitted) (emphasis supplied).

¶ 31         “[I]t is essential in each case that there be some act by which the defendant

       purposefully avails itself of the privilege of conducting activities within the forum

       State, thus invoking the benefits and protections of its laws.” Burger King Corp. v.

       Rudzewicz, 471 U.S. 462, 474, 85 L. Ed. 2d 528, 542 (1985) (citation omitted).

                                     B. Stream of Commerce

¶ 32         “The mere fact that [a defendant] was ‘connected’ to the manufacture and

       distribution of [a product] is not sufficient to support a conclusion that [the defendant]

       purposefully availed itself of North Carolina jurisdiction by injecting its products into

       the stream of commerce.” Cambridge, 194 N.C. App. at 416, 670 S.E.2d at 297.

¶ 33         Plaintiff’s stream of commerce theory cannot displace the fundamental rule

       that “it is the defendant’s conduct that must form the necessary connection with the

       forum State that is the basis for jurisdiction over him.” Walden v. Fiore, 571 U.S. 277,

       285, 188 L. Ed. 2d 12, 21 (2014).

¶ 34         In Ford, the consumer products at issue were a Ford Explorer and a Ford

       Crown Victoria, “the very vehicles,” not all Ford vehicles. Ford __ U.S. at __, 209 L.

       Ed. 2d at 238. The Court emphasized that Ford “advertised, sold, and serviced those

       two car models in both [forum] States for many years.” Ford __ U.S. at __, 209 L. Ed.

       2d at 238. “In other words, Ford had systematically served a market in Montana and
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                                           2022-NCCOA-55

                                         Opinion of the Court



       Minnesota for the very vehicles that the plaintiffs allege malfunctioned.” Ford __ U.S.

       at __, 209 L. Ed. 2d at 238.

¶ 35         Here, the product at issue is an 18650 lithium-ion cell, not all models of

       “lithium-ion batteries generally,” or every product that LG Chem manufactures. LG

       Chem’s 18650 lithium-ion cells are not consumer products; they are manufactured,

       marketed, distributed, and sold solely as industrial component products.

¶ 36         Plaintiff lists purported contacts between LG Chem and North Carolina, but

       he makes no attempt to demonstrate the necessary connection between these contacts

       and Plaintiff’s claims. Moreover, LG Chem never served as a market in North

       Carolina for standalone, removable consumer batteries or made “purposeful efforts

       to flood North Carolina” with standalone consumer batteries. Whereas Ford urged

       consumers in the forum States to buy the specific products, Explorer and Crown

       Victoria vehicles, “[b]y every means imaginable[.]” Id. at __, 209 L. Ed. 2d at 237. LG

       Chem never advertised, sold, or distributed any lithium-ion cells to anyone for sale to

       individual consumers for use as standalone, removable batteries for the devices

       Plaintiff purchased.

                                  VI.   Abuse of Discretion

¶ 37         The second issue before this Court is whether the trial court abused its

       discretion by declining to compel further responses to Plaintiff’s discovery requests.

                                      A. Standard of Review
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                                             2022-NCCOA-55

                                         Opinion of the Court



¶ 38          This Court reviews trial court rulings “on discovery matters under the abuse

       of discretion standard.” In re J.B., 172 N.C. App. 1, 14, 616 S.E.2d 264, 272 (2005).

       “A trial court may be reversed for abuse of discretion only upon a showing that its

       ruling was so arbitrary that it could not have been the result of a reasoned decision.”

       Id. (citation omitted). Plaintiff makes no showing of the trial court’s abusing its

       discretion.

                                       B. No Jurisdiction

¶ 39          Plaintiff did not allege facts to support assertion of jurisdiction over LG Chem

       or LG America. Plaintiff’s “injecting its products into the stream of commerce” theory

       of jurisdiction over Defendants violates due process, is contrary to established

       precedents, and is invalid. Cambridge, 194 N.C. App. at 416, 470 S.E.2d at 297.

       Additional jurisdictional discovery was not warranted.

                                      VII.     Conclusion

¶ 40          Plaintiff bears the burden of proving jurisdiction. Plaintiff has failed to show

       any causal connection, purposeful availment or personal jurisdiction between North

       Carolina and LG Defendants. The trial court’s order dismissing Plaintiff’s complaints

       against LG Defendants for lack of specific personal jurisdiction is properly affirmed.

       It is so ordered.

              AFFIRMED.

              Chief Judge STROUD concurs.
                       MILLER V. LG CHEM

                          2022-NCCOA-55

                         Opinion of the Court



Judge INMAN dissents with separate opinion.
        No. COA20-687 – Miller v. LG Chem.


              INMAN, Judge, dissenting.


¶ 41          Plaintiff, a North Carolinian, bought an LG 18650 battery in North Carolina,

       was injured by that battery in North Carolina, and has now sued the manufacturer

       and its American subsidiary—the LG Defendants1—in North Carolina. Because, in

       my view, Plaintiff’s complaint contains unrebutted allegations sufficient to establish

       the LG Defendants’ minimum contacts with North Carolina, I respectfully dissent

       from the majority’s decision affirming the dismissal of Plaintiff’s complaint at this

       early stage of litigation.

¶ 42          I also dissent from the majority’s holding that the trial court did not abuse its

       discretion in denying Plaintiff’s motion for further discovery.          The trial court

       exercised its discretion on the sole basis that Plaintiff could not show a causal link

       between his claims and the LG Defendants’ contacts with North Carolina. That

       limited view of specific jurisdiction has been repudiated by the United States

       Supreme Court. Ford Motor Co. v. Montana Eighth Judicial District, ___ U.S. ___,

       ___, 209 L. Ed. 2d 225, 236 (2021). The Supreme Court’s holding in Ford Motor Co.

       is binding on our appellate review of the trial court’s order, even though it was

       entered before Ford Motor Co. was decided. I would reverse the trial court’s order

       and remand the matter for further proceedings or, failing that, remand the matter to



              1 I refer to both Defendants LG Chem, Ltd. and LG Chem America, Inc. as the “LG

       Defendants” to avoid confusion with the other named defendants in this case. I otherwise
       employ the same defined terms set forth in the majority opinion.
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                                            2022-NCCOA-55

                                         INMAN, J., dissenting



       the trial court to consider, in its sound discretion, whether jurisdictional discovery is

       warranted in light of the law of specific jurisdiction as it exists following Ford Motor

       Co.

                       I.     FACTUAL AND PROCEDURAL HISTORY

¶ 43         I supplement the majority opinion to describe in further detail the trial court’s

       order dismissing Plaintiff’s complaint.     The order contains ten findings of fact

       collectively establishing: (1) LG Chem has never designed, manufactured,

       distributed, advertised, or sold lithium-ion cells “for use by individual consumers as

       standalone, replaceable, rechargeable batteries in electronic cigarette or vaping

       devices;” (2) “LG Chem has tried to limit the distribution of its 18650 lithium-ion cells

       for use by consumers as standalone, replaceable, rechargeable batteries in electronic

       cigarettes and vaping devices” and has never authorized them to be sold or

       distributed for such use; and (3) LG America’s sales in North Carolina “are limited to

       petrochemical products” and “have no relationship to the distribution of 18650

       lithium-ion cells for sale to North Carolina consumers for use in electronic cigarettes

       and vaping devices.”

¶ 44         Based on its findings, the trial court concluded as a matter of law that

       Plaintiff’s injury did not “arise from” the LG Defendants’ contacts with North

       Carolina because the LG Defendants attempted to preclude the distribution and sale

       of 18650 cells for use by individual consumers in vaping devices and did not serve
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                                               2022-NCCOA-55

                                          INMAN, J., dissenting



       that market in the State. The trial court then dismissed Plaintiff’s complaint—and

       by necessary implication denied further jurisdictional discovery—by focusing on

       causation, without considering whether Plaintiff’s claims otherwise related to the LG

       Defendants’ alleged contacts with North Carolina.

                                         II.     ANALYSIS

       A. Motion to Dismiss and Specific Jurisdiction

¶ 45          Resolution of this appeal turns in no small part on recent developments in the

       law of specific jurisdiction and due process. After the trial court entered its order

       below, the Supreme Court of the United States decided Ford Motor Co., which held

       that a non-resident defendant’s contacts with a state need not be the direct cause of

       a resident plaintiff’s injuries so long as the there is a sufficient “relationship[] [that]

       will support [specific] jurisdiction without a causal showing.” ___ U.S. at ___, 209 L.

       Ed. 2d at 236.

¶ 46          The North Carolina Supreme Court has since weighed in as well. In Mucha v.

       Wagner, 378 N.C. 167, 2021-NCSC-82, it further clarified what conduct by out-of-

       state defendants suffices to demonstrate minimum contacts with North Carolina in

       accordance with due process, and held this State’s courts lacked personal jurisdiction

       over a Connecticut defendant in a domestic violence protection order action when he

       made phone calls to his ex-girlfriend’s cellphone on the day she happened to move

       from South Carolina to North Carolina.
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                                             2022-NCCOA-55

                                           INMAN, J., dissenting



¶ 47          Applying the constitutional law of specific jurisdiction as it currently stands to

       the case before us,2 I would hold that the trial court erred in granting the LG

       Defendants’ motions to dismiss and reverse the order dismissing Plaintiff’s claims

       against them.

          1. Standard of Review

¶ 48          The standard of review applicable to a trial court’s dismissal of an action for

       lack of personal jurisdiction depends on the procedural posture of the case and the

       pleadings and evidence before the trial court. Banc of Am. Sec. LLC v. Evergreen

       Intern. Aviation, Inc., 169 N.C. App. 690, 693, 611 S.E.2d 179, 182 (2005). There are

       generally three ways in which Rule 12(b)(2) motions are brought before our trial

       courts:

                     (1) the defendant makes a motion to dismiss without
                     submitting any opposing evidence; (2) the defendant
                     supports its motion to dismiss with affidavits, but the
                     plaintiff does not file any opposing evidence; or (3) both the
                     defendant and the plaintiff submit affidavits addressing

              2 The LG Defendants did not challenge the applicability of North Carolina’s “long-

       arm” statute, N.C. Gen. Stat. § 1-75.4 (2019), before the trial court or in their briefing to
       this Court. Because the parties focus on the Due Process Clause of the Fourteenth
       Amendment, I likewise focus my analysis on that question. Cohen v. Continental Motors,
       Inc., 2021-NCCOA-449, ¶ 25. And, in any event, Plaintiff alleged personal jurisdiction over
       the LG Defendants pursuant to N.C. Gen. Stat. § 1-75.4(1)(d), which grants the courts of
       North Carolina jurisdiction over defendants “to the extent allowed by due process.” Dillon
       v. Numismatic Funding Corp., 291 N.C. 674, 676, 231 S.E.2d 629, 630-31 (1977). Thus, “the
       question of statutory authority [under N.C. Gen. Stat. § 1-75.4(1)(d)] collapses into the
       question of whether [the defendant] has the minimum contacts with North Carolina
       necessary to meet the requirements of due process.” Sherlock v. Sherlock, 143 N.C. App.
       300, 303, 545 S.E.2d 757, 760 (2001) (citation omitted).
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                        the personal jurisdiction issues.
       Id.
¶ 49          If a defendant moves to dismiss without submitting any evidence as to personal

       jurisdiction, “[t]he trial judge must decide whether the complaint contains allegations

       that, if take as true, set forth a sufficient basis for the court’s exercise of personal

       jurisdiction.”     Id.   Those allegations “must disclose jurisdiction although the

       particulars of jurisdiction need not be alleged.” Bruggeman v. Meditrust Acquisition

       Co., 138 N.C. App. 612, 615, 532 S.E.2d 215, 217 (2000).

¶ 50          When a defendant supports a motion to dismiss with affidavits, the trial court

       resolves the motion by considering: (1) allegations in the complaint not controverted

       by the defendant’s affidavit; and (2) facts in the defendant’s affidavit not controverted

       because of the plaintiff’s failure to offer evidence. Banc of Am. Sec., 169 N.C. App. at

       693-94, 611 S.E.2d at 182-83. Allegations in the complaint that are controverted by

       evidence are no longer taken as true. Id. at 693, 611 S.E.2d at 182. “In such a case,

       the plaintiff’s burden of establishing prima facie that grounds for personal

       jurisdiction exist can still be satisfied if some form of evidence in the record supports

       the exercise of personal jurisdiction.” Bruggeman, 138 N.C. App. at 616, 532 S.E.2d

       at 218 (citation omitted).

¶ 51          If the parties file competing affidavits, as was done here, the trial court “may

       hear the matter on affidavits presented by the respective parties, . . . or the court may
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       direct that the matter be heard wholly or partly on oral testimony or depositions.”

       Banc of Am. Sec., 169 N.C. App. at 694, 611 S.E.2d at 183 (quotation marks and

       citations omitted) (cleaned up). In the absence of an evidentiary hearing, “[t]he trial

       judge must determine the weight and sufficiency of the evidence presented in the

       affidavits much as a juror.” Id. (quotation marks and citations omitted) (cleaned up).

       The burden remains on the plaintiff to make out a prima facie case for personal

       jurisdiction, and “this procedure does not alleviate the plaintiff’s ultimate burden of

       proving personal jurisdiction at an evidentiary hearing or at trial by a preponderance

       of the evidence.” Bruggeman, 138 N.C. App. at 615, 532 S.E.2d at 217 (citations

       omitted).

¶ 52         When this Court reviews a trial court’s ruling on a motion to dismiss for lack

       of personal jurisdiction, we consider “whether the findings of fact by the trial court

       are supported by competent evidence on the record.” Lab. Corp. of Am. Holdings v.

       Caccuro, 212 N.C. App. 564, 567, 712 S.E.2d 696, 699 (2011) (quotation marks and

       citations omitted). Unchallenged findings are binding on appeal. Id. We review de

       novo whether the trial court’s findings support its conclusion as to personal

       jurisdiction. Bell v. Mozley, 216 N.C. App. 540, 543, 716 S.E.2d 868, 871 (2011).

          2. Due Process and Specific Jurisdiction

¶ 53         The Due Process Clause of the Fourteenth Amendment limits a state court’s

       authority to exercise personal jurisdiction over a defendant. Mucha, ¶ 8. Whether
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       the Due Process Clause permits such an exercise in a given case “requires a forum-

       by-forum, or sovereign-by-sovereign, analysis.” J. McIntyre Mach, Ltd. v. Nicastro,

       564 U.S. 873, 884, 180 L. Ed. 2d 765, 776 (2011). It is a fact-intensive inquiry that

       protects “a nonresident defendant[’s] . . . liberty interest in not being subject to the

       binding judgments of a forum with which he has established no meaningful contacts,

       ties, or relations.” Beem USA Ltd.-Liab. Ltd. P’ship v. Grax Consulting LLC, 373

       N.C. 297, 302, 838 S.E.2d 158, 162 (2020) (quotation marks and citations omitted).

¶ 54         The broader concept of personal jurisdiction embodied in the Due Process

       Clause is also divisible into two distinct forms: (1) general jurisdiction, where the

       defendant “is essentially at home in the State” where the suit is brought and thus

       subject to suit, Ford Motor Co., ___ U.S. at ___, 209 L. Ed. 2d at 233 (cleaned up)

       (citations omitted); and (2) specific jurisdiction, which “covers defendants less

       intimately connected with a State, but only as to a narrower class of claims.” Id.

¶ 55         Typically, general jurisdiction attaches anywhere a defendant is domiciled,

       incorporated, or maintains its principal place of business. Id. Specific jurisdiction,

       by contrast, arises only where a defendant, directly or indirectly, “purposefully avails

       itself of the privilege of conducting activities within the forum State, thus invoking

       the benefits and protections of its laws.” Hanson v. Denckla, 357 U.S. 235, 253, 2 L.

       Ed. 2d. 1283, 1298 (1958) (citing Int’l Shoe Co. v. State of Washington, 326 U.S. 310,

       319, 90 L. Ed. 95 (1945)); see also World-Wide Volkswagen Corp. v. Woodson, 444 U.S.
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       286, 297, 62 L. Ed. 2d 490, 501-02 (1980) (“[I]f the sale of a product . . . is not an

       isolated occurrence, but arises from efforts of the manufacturer or distributor to

       serve, directly or indirectly, the market for its product in other States, it is not

       unreasonable to subject it to suit in one of those States if its allegedly defective

       merchandise has there been the source of injury to its owner or to others.”). The

       defendant’s activities must be intentional, voluntary, “and not random, isolated, or

       fortuitous.” Ford Motor Co., ___ U.S. at ___, 209 L. Ed. 2d at 234 (quotation marks

       and citation omitted). Examples of such actions include “exploiting a market in the

       forum state or entering a contractual relationship centered there.” Id. (cleaned up)

       (quotation marks and citation omitted). Taken together, the defendant’s contacts

       with the forum must be “such that he should reasonably anticipate being haled into

       court there.” World-Wide Volkswagen, 444 U.S. at 297, 62 L. Ed. 2d at 501 (citations

       omitted).

¶ 56         The North Carolina Supreme Court followed this precedent in Mucha,

       explaining that “[a]t a minimum, there must be some evidence from which the court

       can infer that in undertaking an act, the defendant purposefully established contacts

       with the State of North Carolina specifically.” ¶ 32. The decision in Mucha clarified

       that to support the State’s exercise of jurisdiction, a defendant need not know that its

       purposeful act will result in contacts here so long as it reasonably should know that

       it is “establishing a connection with the State of North Carolina.” Id. ¶ 11. “This
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                                         INMAN, J., dissenting



       awareness—whether actual or imputed—is what permits a court in North Carolina

       to exercise judicial authority over the nonresident defendant.” Id. (emphasis added).

¶ 57         Any exercise of specific jurisdiction also turns on the plaintiff’s particular

       claims, which “ ‘must arise out of or relate to the defendant’s contacts’ with the

       forum.” Ford Motor Co., ___ U.S. at ___, 209 L. Ed. 2d at 234 (quoting Bristol-Myers

       Squibb Co. v. Superior Court of Cal., San Francisco Cty., ___ U.S. ___, 198 L. Ed. 2d

       395, 403 (2017)). This is not a “causation-only approach,” as it encompasses both

       “strict causal relationships between the defendant’s in-state activity and the

       litigation” and “some relationships . . . without a causal showing.” Ford Motor Co.,

       ___ U.S. at ___, 209 L. Ed. 2d at 235-36. The latter category of claims, although not

       requiring causation, is not unconstrained and “incorporates real limits,” id. at ___,

       209 L. Ed. 2d at 236, however unspecific those limits are at present. See Cohen, ¶ 48

       (Tyson, J., concurring in part and concurring in the result in part) (“The majority’s

       opinion in Ford does not articulate any guardrails or outer limits for lower courts to

       follow when evaluating whether due process concerns prevent a court from

       establishing specific personal jurisdiction over a non-forum defendant.” (citation

       omitted)).

¶ 58         Wherever those limits actually fall, they must “adequately protect defendants

       foreign to a forum.” Ford Motor Co., ___ U.S. at ___, 209 L. Ed. 2d at 236. Any

       exercise of specific jurisdiction must “comport with fair play and substantial justice.”
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       Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476, 85 L. Ed. 2d 528, 543 (1985)

       (quotation marks and citation omitted).       Such a determination turns on several

       factors, including:

                    the burden on the defendant, the forum State’s interest in
                    adjudicating the dispute, the plaintiff’s interest in
                    obtaining convenient and effective relief, the interstate
                    judicial system’s interest in obtaining the most efficient
                    resolution of controversies, and the shared interest of the
                    several States in furthering fundamental substantive
                    social policies.

       Id. at 477, 85 L. Ed. 2d at 543 (quotation marks and citation omitted). These fairness

       concerns “sometimes serve to establish the reasonableness of jurisdiction upon a

       lesser showing of minimum contacts than would otherwise be required.” Id. at 477,

       85 L. Ed. 2d at 544 (citations omitted).

¶ 59         Broadly summarized, any exercise of specific jurisdiction is subject to a three-

       pronged test under the Due Process Clause, and it attaches when: (1) the out-of-state

       defendant purposefully avails itself of the privileges and laws of the forum state and

       thus establishes minimum contacts with the jurisdiction, Hanson, 357 U.S. at 253, 2

       L. Ed. 2d. at 1298; (2) the plaintiff’s claims arise out of or relate to the defendant’s

       minimum contacts with the forum state, Ford Motor Co., ___ U.S. ___, ___, 209 L. Ed.

       2d at 234; and (3) the exercise of jurisdiction “comport[s] with fair play and

       substantial justice.” Burger King Corp., 471 U.S. at 476, 85 L. Ed. 2d at 543.

          3. Prima Facie Showing of Specific Jurisdiction
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¶ 60         Applying the above principles to this case, and in light of the applicable

       standard of review, I would hold that Plaintiff has met his burden of establishing a

       prima facie case of specific jurisdiction at this stage of the proceedings. I limit my

       analysis to whether the LG Defendants purposefully availed themselves of North

       Carolina’s laws and whether Plaintiff’s claims arise out of or relate to that purposeful

       availment—the first two prongs of any specific jurisdiction analysis—as the LG

       Defendants do not argue that fair play and substantial justice concerns preclude an

       exercise of jurisdiction under the third prong of the specific jurisdiction test.

             a. Purposeful Availment and Stream of Commerce

¶ 61         Plaintiff’s complaint alleges that both LG Defendants caused the batteries at

       issue in this case to be sold in North Carolina. The complaint alleges that LG Chem

       “caused those batteries to be distributed and sold throughout the United States,

       including within the State of North Carolina,” and that LG Chem did so “with the

       knowledge, understanding, and/or expectation that they will be purchased by

       consumers in this State.” The complaint contains similar allegations regarding LG

       America, claiming that it “did substantial and continuous business in the State of

       North Carolina by marketing, distributing, and selling or causing to be sold lithium-

       ion batteries in the State,” all with the “knowledge, understanding, and/or

       expectation that they will be purchased by consumers in the State.” These factual

       allegations, which need not contain particulars at this stage of litigation, Bruggeman,
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                                         INMAN, J., dissenting



       138 N.C. App. at 615, 532 S.E.2d at 217, establish that the LG Defendants

       purposefully caused LG 18650 batteries to be sold to consumers in North Carolina,

       and thus served a market for the product in the State.

¶ 62         The LG Defendants’ discovery responses and affidavits only partially rebut the

       jurisdictional allegations of Plaintiff’s complaint.      While LG Chem stated in its

       discovery responses that it did not sell or distribute 18650 batteries “intended” for

       North Carolina, LG Chem’s subjective intent is not dispositive. See Mucha, ¶ 11

       (holding that a defendant purposefully avails itself of North Carolina’s laws when it

       “knew or reasonably should have known that by undertaking some action, the

       defendant was establishing a connection with the State of North Carolina. This

       awareness—whether actual or imputed—is what permits a court in North Carolina

       to exercise judicial authority over the nonresident defendant.”); see also J. McIntyre

       Mach, Ltd., 564 U.S. at 883, 180 L. Ed. 2d at 776 (“[I]t is the defendant’s actions, not

       his expectations, that empower a State’s courts to subject him to judgment.”). Nor

       does LG America’s discovery responses—representing LG America only assisted with

       sales of 18650 batteries to companies in Texas and Illinois and never itself sold or

       distributed the batteries in North Carolina—dispense with the issue. See, e.g., World-

       Wide Volkswagen, 444 U.S. at 297, 62 L. Ed. 2d at 501 (acknowledging “indirect”

       service of a market may establish personal jurisdiction).
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¶ 63         So, while LG Chem may not have sold or distributed 18650 batteries directly

       to North Carolina or “intended” for them to be used in vape pens in the State, one can

       infer that it nonetheless may have indirectly served a North Carolina market for

       these batteries when it knowingly “caused those batteries to be distributed and

       sold . . . within the State of North Carolina,” as alleged in Plaintiff’s complaint.

       Similarly, that LG America has not itself sold or distributed to anyone in North

       Carolina does not mean that LG America, by marketing batteries in North Carolina

       and assisting with out-of-state transactions, did not knowingly “caus[e] [batteries] to

       be sold . . . in the State,” as the complaint contends, directly or otherwise.

¶ 64         Consistent with the LG Defendants’ limited and specific denials, the trial court

       found that the LG Defendants did not directly distribute or sell 18650 batteries to

       anyone in North Carolina for use in vaping or e-cigarette devices. Those findings

       focus strictly on whether the LG Defendants made contact with the State for the

       specific purpose of selling 18650 batteries to individual consumers for use in vape

       pens and e-cigarettes.    The trial court made no findings as to whether the LG

       Defendants served, directly or indirectly, other markets for these same batteries in

       North Carolina. The latter scenario, unrebutted by the LG Defendants’ evidence, can

       be inferred from Plaintiff’s jurisdictional allegations. See Williams v. Institute for

       Computational Studies at Colorado State University, 85 N.C. App. 421, 428, 355

       S.E.2d 177, 182 (1987) (“The failure to plead the particulars of jurisdiction is not fatal
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                                          INMAN, J., dissenting



       to the claim so long as the facts alleged permit the inference of jurisdiction.”). We

       must therefore take those allegations as true. Banc of Am. Sec., 169 N.C. App. at

       693-94, 611 S.E.2d at 182-83. And, following specific jurisdiction caselaw, these

       unrebutted allegations are sufficient to establish purposeful availment at this early

       stage of litigation.

¶ 65          That Plaintiff is not in the North Carolina market intended by the LG

       Defendants does not negate the allegations that they knowingly serve a market for

       batteries here. And knowingly serving a market in the forum state is a purposeful

       availment of that jurisdiction’s laws. See Ford Motor Co., ___ U.S. at ___, 209 L. Ed.

       2d at 236 (“[T]his Court has stated that specific jurisdiction attaches in cases identical

       to the ones here—when a company cultivates a market for a product in the forum

       State and the product malfunctions there.” (citing World-Wide Volkswagen, 444 U.S.

       286, 62 L. Ed. 2d 490) (emphasis added)); see also Walden v. Fiore, 571 U.S. 277, 285,

       188 L. Ed. 2d 12, 20 (2014) (“[W]e have upheld the assertion of jurisdiction over

       defendants who have purposefully reached out beyond their state and into another

       by, for example, . . . circulating magazines to ‘deliberately exploit’ a market in the

       forum State.” (cleaned up) (quoting Keeton v. Hustler Magazine, Inc., 465 U.S. 770,

       781, 79 L. Ed. 2d 790, 801 (1984) (emphasis added))); Chloe v. Queen Bee of Beverly

       Hills, LLC, 616 F.3d 158, 171 (2nd Cir. 2010) (“[J]urisdiction is appropriate in New

       York because Queen Bee has developed and served a market for its products there.”
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                                           INMAN, J., dissenting



       (citations omitted) (emphasis added)); Genetic Implant Systems, Inc. v. Core-Vent

       Corp., 123 F.3d 1455, 1458 (Fed. Cir. 1997) (holding a defendant could be sued in

       Washington in part because “it engaged in a program to develop a market in

       Washington”).3

¶ 66         Finally, our Supreme Court’s recent holding in Mucha that the record must

       support at least an “infer[ence] that in undertaking an act, the defendant

       purposefully established contacts with the State of North Carolina specifically,” ¶ 32,

       does not compel a different resolution. Plaintiff made an unrebutted allegation in his

       complaint that LG America specifically marketed lithium-ion batteries in North

       Carolina. As for LG Chem, the complaint alleges that it “plac[ed] its lithium-ion

       batteries into the stream of commerce with the knowledge, understanding, and/or

       expectation that they will be purchased by consumers in the State.” Though LG

       Chem denied that it sold or distributed 18650 batteries to or intended for North

       Carolina, Plaintiff’s allegations encompass indirect service of the North Carolina

       marketplace through distributors that LG Chem knew, understood, and expected to

       reach North Carolina. Given: (1) the particulars of these relationships need not be



             3 At least one other court has held that specific jurisdiction could be exercised over

       LG Chem in an 18650 vape-pen products liability suit under this exact rationale despite
       virtually identical evidence from LG Chem showing it only served a market for
       sophisticated, industrial consumers who installed the batteries in other manufactured
       products like power tools. Tieszen v. EBay, Inc., 2021 WL 4134352, *5-*6 (unpublished) (D.
       S.D. Sept. 10, 2021).
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                                        INMAN, J., dissenting



       alleged in the complaint, Bruggeman, 138 N.C. App. at 615, 532 S.E.2d at 217; (2)

       Mucha’s acknowledgment that specific jurisdiction attaches when “the defendant

       knew or reasonably should have known that by undertaking some action, the

       defendant was establishing a connection with the State of North Carolina,” ¶ 11; and

       (3) uncontroverted evidence that LG Chem’s 18650 batteries are readily available for

       purchase in dozens of vape shops across North Carolina, I am satisfied that the record

       permits a necessary inference that LG Chem “purposefully established contacts with

       the State of North Carolina specifically.” Id. ¶ 32. See also id. ¶ 14 (quoting and

       citing favorably to Keeton, 465 U.S. at 781, 79 L. Ed. 2d at 801, which held specific

       jurisdiction attached to a magazine publisher because the ready availability of the

       magazine in the forum state evidenced a “continuous[] and deliberate[] exploit[ation]”

       of the state’s market).

             b. Arising Out of or Relating to

¶ 67         Whether Plaintiff’s claims arise out of or relate to the LG Defendants’ contacts

       with North Carolina also presents a complicated question. As the trial court’s order

       recognizes, the fact that neither of the LG Defendants manufactures, sells, or

       distributes 18650 batteries for individual use in vaping devices means “Plaintiff’s

       alleged injuries did not arise from any activities of LG Chem . . . [or] from any

       activities of [LG America].”

¶ 68         Since the trial court’s ruling, however, we now have the benefit of Ford Motor
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       Co., which clarified that the “arise out of or relate to” standard encompasses two

       distinct concepts: “[t]he first half of that standard asks about causation; but the back

       half, after the ‘or,’ contemplates that some relationships will support jurisdiction

       without a causal showing.” ___ U.S. at ___, 209 L. Ed. 2d at 236. Applying that

       decision to the record before us, I would hold that Plaintiff has at this time4

       established a prima facie showing that his claim “relates to” the LG Defendants’

       contacts with North Carolina.

¶ 69          United States Supreme Court decisions addressing specific jurisdiction in the

       products liability context have not generally concerned themselves with how the

       injured plaintiffs used the products in question or the products’ intended consumers

       or uses. Instead, the Court has focused strictly on the injection of the product itself

       into the forum’s marketplace.         The Court in Ford Motor Co. altogether omitted

       intended consumer use in its analysis of the “related to” prong:

                      [S]pecific jurisdiction attaches in cases identical to the ones
                      here—when a company like Ford serves a market for a
                      product in the forum State and the product malfunctions
                      there. . . . Or said another way, if Audi and Volkswagen’s
                      business deliberately extended into Oklahoma (among other
                      States), the Oklahoma’s courts could hold the companies
                      accountable for a car’s catching fire there—even though the
                      vehicle had been designed and made overseas and sold in
                      New York.


              4 Whether that prima facie showing can be maintained after further discovery and at

       a later stage of this litigation is not a question before us today.
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                                         INMAN, J., dissenting



       ___ U.S. at ___, 209 L. Ed. 2d at 237 (citing World-Wide Volkswagen, 444 U.S. at 295,

       297, 62 L. Ed. 2d at 501-02) (emphasis added). Ford also expressly held that the

       reason for the injured plaintiff’s purchase of a product is not a jurisdictional concern.

       See id. at ___, 209 L. Ed. 2d at 239 (“Nor should jurisdiction in cases like these ride

       on the exact reasons for an individual plaintiff’s purchase, or on his ability to present

       persuasive evidence about them.”). And Ford Motor Co. was just the latest of many

       decisions considering the broader market rather than intended use within a

       jurisdiction. See id. at ___, 209 L . Ed. 2d at 237 (cataloging similar cases).

¶ 70         Holding Plaintiff’s injury in this case was “related to” the LG Defendants’

       contacts with North Carolina as detailed above is consistent with Ford Motor Co.

       Applying the same analysis to the record here, Plaintiff’s claim is related to the LG

       Defendants’ North Carolina-focused activities because it alleges: (1) the LG

       Defendants serve a market for 18650 batteries in North Carolina; (2) Plaintiff

       purchased such a battery in North Carolina; and (3) the battery Plaintiff purchased

       in North Carolina malfunctioned, caught fire, and injured Plaintiff in North Carolina.

       This analysis is also consistent with holdings by other courts that are not binding,

       but that I find persuasive. In LG Chem, Ltd. v. Lemmerman, the Georgia Court of

       Appeals relied on Ford Motor Co. and held that specific jurisdiction existed over the

       LG Defendants in an 18650 vaping case because LG Chem served a market for the

       battery in Georgia, and the plaintiff “is a resident of Georgia, used LG Chem’s
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                                          INMAN, J., dissenting



       allegedly defective battery in Georgia, and suffered injuries when that battery

       allegedly malfunctioned in Georgia.” 863 S.E.2d 514, 524 (2021). See also Tieszen,

       2021 WL 4134352 at *6 (rejecting LG Chem’s argument that specific jurisdiction did

       not attach because it did not serve a market for standalone e-cigarette batteries and

       holding its contacts with South Dakota related to the plaintiff’s claim, “even if he was

       not LG Chem’s intended consumer,” because “(1) LG Chem sells and distributes

       18650 . . . batteries in South Dakota, (2) [the plaintiff] purchased such a battery online

       while in South Dakota, and (3) [the plaintiff] was injured by an 18650 . . . battery in

       South Dakota”). Cf. Cohen, ¶ 30 (holding specific jurisdiction attached when the out-

       of-state defendant served the North Carolina market for airplane Starter Adapters

       “directly or indirectly” and “its allegedly defective Starter Adapter has there been the

       source of injury to its owners.” (cleaned up) (quotation marks and citation omitted)).

¶ 71          The LG Defendants argue that Plaintiff’s claims are not related to their

       contacts with North Carolina because they never injected 18650 batteries into North

       Carolina’s marketplace for use by individual consumers as standalone batteries for

       vape pens. But any alleged alteration or misuse of an 18650 battery is a defense on

       the merits to Plaintiff’s products liability suit, not a dispositive factor in the specific

       jurisdiction analysis. North Carolina’s product liability statutes provide:

                     No manufacturer or seller of a product shall be held liable
                     in any product liability action where a proximate cause of
                     the personal injury . . . was either an alteration or
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                                          INMAN, J., dissenting



                      modification of the product by a part other than the
                      manufacturer or seller . . . . [A]lteration or modification
                      includes changes in the . . . use of the product from that
                      originally designed, tested, or intended by the
                      manufacturer.

       N.C. Gen. Stat. § 99B-3 (2019).

¶ 72         Other jurisdictions, both before and after Ford Motor Co., have reached this

       same conclusion. See, e.g., Berven v. LG Chem, Ltd., 2019 WL 1746083, *11 (E.D.

       Cal. April 18, 2019) (unpublished), adopted by Berven v. L.G. Chem, Ltd., 2019 WL

       4687080 (E.D. Cal. Sept. 26, 2019) (unpublished) (holding that whether use of an

       18650 battery by an individual consumer in a vape pen was the result of unintended

       distribution and misuse went to the merits of a product liability suit, not specific

       jurisdiction); LG Chem Am., Inc. v. Morgan, 2020 WL 7349483, *10 (Tex. App. Ct.

       Dec. 15, 2020) (unpublished) (“[W]hether LGC’s batteries were used in a foreseeable

       manner    or    were   misused    goes   to   the    merits   of   a   products   liability

       action. . . . Jurisdiction cannot turn on whether a defendant denies wrongdoing—as

       virtually all will.” (quotation marks and citation omitted)); Lemmerman, 863 S.E.2d

       at 524 (“[W]hether there was an unforeseeable misuse of the product by the injured

       plaintiff goes to the substantive merits of a products liability action and can be
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                                            INMAN, J., dissenting



       addressed in that context”).5 I acknowledge that decisions by courts in other states,

       and particularly unpublished decisions, are not controlling authority. But, given the

       developing state of specific jurisdiction caselaw, their analysis applying that law to

       products liability suits brought against the LG Defendants for exploding 18650

       batteries used in vape pens is a helpful source of reference and persuasive in this

       case.

¶ 73           Such a holding does not contravene the “real limits” of the “related to” prong

       acknowledged by the United States Supreme Court. Ford Motor Co., ___ U.S. at ___,

       209 L. Ed. 2d at 236. I would not hold, for example, that Plaintiff may sue LG Chem

       here because it sources lithium materials from North Carolina companies, nor would




               5 The LG Defendants also cite decisions from other jurisdictions ruling in their favor

       on specific jurisdiction. However, those cases were either decided pre-Ford Motor Co., are
       distinguishable on their facts or law, or both. For example, several of those decisions found
       the plaintiffs’ allegations failed to specifically allege a causal connection to the plaintiff’s
       claims. See, e.g., Schexnider v. E-Cig Central, LLC, 2020 WL 6929872, *8-*9 (Ct. App. Tx.
       Texarkana Nov. 25, 2020) (unpublished) (holding Texas lacked specific jurisdiction over LG
       Chem because: (1) there were no unnegated allegations or evidence that LG Chem
       indirectly targeted Texas through third-party distributors; and (2) “[t]here was no evidence
       or unnegated allegations that [plaintiff’s] claims arose from LG Chem’s only Texas
       contacts”). Under North Carolina law, however, a plaintiff’s allegations of jurisdiction need
       not contain such particulars at the 12(b)(2) stage, Bruggeman, 138 N.C. App. at 615, 532
       S.E.2d at 217, and Ford Motor Co. makes clear that claims may be brought through specific
       jurisdiction if they either arise out of or relate to the plaintiff’s claims. Ford Motor Co., ___
       U.S. ___, ___, 209 L. Ed. 2d at 236. Other decisions cited by the LG Defendants are
       distinguishable on their facts. See, e.g., Davis v. LG Chem, Ltd., 849 Fed.Appx. 855, 857-58
       (11th Cir. 2021) (unpublished) (holding Oklahoma plaintiffs who purchased 18650 batteries
       in Oklahoma that exploded in Oklahoma could not sue LG Chem in Georgia simply because
       LG America is based there).
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                                            2022-NCCOA-55

                                         INMAN, J., dissenting



       I hold that LG America may be sued for the injuries alleged because it sells and

       markets petrochemical products in the State. Neither of those contacts involves the

       injection of an 18650 battery into the North Carolina marketplace and injury to a

       North Carolinian from that product. Nor would my holding permit a South Carolina

       resident, injured in that state by an 18650 battery sold there, to bring suit in North

       Carolina’s courts, as the South Carolina plaintiff’s injury would not be related to the

       LG Defendants’ contacts with North Carolina. Indeed, such an out-of-state plaintiff

       would run up against the same “real limit” imposed in Bristol-Myers Squibb, in which

       the United States Supreme Court held that residents of California injured in that

       state could bring products liability claims against a non-resident defendant

       consistent with specific jurisdiction principles, but non-California plaintiffs suing for

       identical injuries suffered outside the state were barred from pursuing any claims

       there. ___ U.S. at ___, 198 L. Ed. 2d at 14-16.

¶ 74         I also note that such a holding would not be the final word on this issue in this

       case. The LG Defendants could ultimately introduce sufficient evidence showing that

       they have not maintained minimum contacts with North Carolina relating to

       Plaintiff’s claims as the matter proceeds to trial. See Bruggeman, 138 N.C. App. at

       615, 532 S.E.2d at 217 (observing that denial of a motion to dismiss for lack of

       personal jurisdiction based on affidavits “does not alleviate the plaintiff’s ultimate

       burden of proving personal jurisdiction at an evidentiary hearing or at trial by a
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                                              2022-NCCOA-55

                                         INMAN, J., dissenting



       preponderance of the evidence” (citations omitted)). I, however, cannot reach that

       conclusion based on the caselaw, our standard of review, and the record before us at

       this early stage of litigation.

       B. Denial of Discovery

¶ 75          I also dissent from the majority’s determination that the trial court did not

       abuse its discretion by denying Plaintiff’s motion to compel additional jurisdictional

       discovery. To be sure, whether to grant such a motion lies in the sound discretion of

       the trial court. Sessions v. Sloane, 248 N.C. App. 370, 381, 789 S.E.2d 844, 853-54
       (2016). But a discretionary ruling made under a misapprehension of law amounts to

       an abuse of discretion. Orren v. Orren, 253 N.C. App. 480, 482, 800 S.E.2d 472, 474
       (2017). A trial court likewise abuses its discretion when it “is clothed with discretion,

       but rules as a matter of law, without the exercise of discretion.” Capps v. Lynch, 253

       N.C. 18, 22, 116 S.E.2d 137, 141 (1960). Commission of “[a]n error of law is by

       definition an abuse of discretion.” Sen Li v. Zhou, 252 N.C. App. 22, 26, 797 S.E.2d

       520, 523 (2017) (citations omitted).

¶ 76          The trial court dismissed the complaint and impliedly denied further

       jurisdictional discovery based on the legal conclusion that Plaintiff’s claims do not

       “arise out of” the LG Defendants’ contacts with North Carolina; that is, Plaintiff could

       not show a causal link between his claims and the LG Defendants’ contacts with the

       State. But a causal link is not necessary if the claims nonetheless “relate to” a
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                                             2022-NCCOA-55

                                           INMAN, J., dissenting



       defendant’s contacts with the forum. Ford Motor Co., ___ U.S. at ___, 209 L. Ed. 2d

       at 236. I note that the trial court did not have the benefit of Ford Motor Co. at the

       time it entered its order. But Ford Motor Co. is nonetheless controlling, even in a

       matter the trial court decided before the Supreme Court’s decision.

¶ 77         Because, in my view, Plaintiff has made a prima facie showing that the LG

       Defendants have purposefully availed themselves of North Carolina, I would remand

       the matter to the trial court to consider whether further jurisdictional discovery is

       warranted in light of the “related to” standard as defined in Ford Motor Co. See, e.g.,

       Capps, 253 N.C. at 22, 116 S.E.2d at 141 (“Where, as here, the court is clothed with

       discretion, but rules as a matter of law, without the exercise of discretion, the

       offended party is entitled to have the proposition reconsidered and passed upon as a

       discretionary matter. . . . [W]here it appears that the judge below has ruled upon the

       matter before him upon a misapprehension of the law, the cause will be remanded to

       the Superior Court for further hearing in the true legal light.” (quotation marks and

       citation omitted)).

                                    III.      CONCLUSION

¶ 78         The LG Defendants introduced evidence rebutting allegations that they

       directly sold or distributed 18650 batteries into North Carolina for individual use as

       standalone batteries in vaping and e-cigarette devices. But this evidence does not

       negate the jurisdictional allegations in Plaintiff’s complaint, which encompass sales,
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                                    2022-NCCOA-55

                                 INMAN, J., dissenting



marketing, and distribution, both direct and indirect, into North Carolina to serve

other, non-vaping related markets for 18650 batteries in this State.            Those

unrebutted jurisdictional allegations and the inferences drawn therefrom establish

minimum contacts with North Carolina. Further, Plaintiff’s claims “relate to” these

contacts, as he is a North Carolina consumer of 18650 batteries who purchased and

was injured by such a battery in North Carolina. See Ford Motor Co., ___ U.S. at ___,

209 L. Ed. 2d at 236. I would therefore hold that Plaintiff has met its burden of

establishing a prima facie case of specific jurisdiction at this stage of the action,

reverse the trial court’s order to the contrary, and remand for further proceedings not

inconsistent with this opinion. Short of that, I would remand the matter back to the

trial court to evaluate, in its discretion, whether further jurisdictional discovery is

warranted on the issue of whether Plaintiff’s claims “relate to” the LG Defendants’

contacts with North Carolina. I respectfully dissent.
